                               CASE 0:19-cr-00104-JNE-TNL Doc. 142 Filed 11/20/19 Page 1 of 2


                                      IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF MINNESOTA

                                                            SENTENCING
UNITED STATES OF AMERICA,                                       )                 COURT MINUTES - CRIMINAL
                     Plaintiff,                                 )
                                                                )    Case No:             19-cr-104 (JNE/TNL) (3)
                              v.                                )    Date:                November 20, 2019
                                                                )    Court Reporter:      Maria Weinbeck
Mason Paul Stuhldreher (3),                                     )    Courthouse:          Minneapolis
                                            Defendant.          )    Courtroom:           12W
                                                                )    Time Commenced:      11:16 am
                                                                )    Time Concluded:      11:49 am
                                                                     Time in Court:       33 Minutes

Defendant’s true name if different from charging instrument:
9 Parties ordered to file stipulation or proposed order for name change.
9 Clerk of Court is directed to change name to:

Before Joan N. Ericksen, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:

      For Plaintiff:                  Allen A. Slaughter, Jr., Assistant U.S. Attorney
      For Defendant:                  Thomas R. Braun 9 FPD 9 CJA : Retained 9 Appointed


      9 Evidentiary Hearing (only select if witness list filed)

      : Sentencing.

      9 Hearing held on objections to the presentence report.

IT IS ORDERED:

Defendant is sentenced to:

    Count. No.                     Plea   Verdict           BOP                   AG        SR         PROB              HA
          1           G                                  180 Months                       5 Years
      Said terms to run 9 concurrently                   9 consecutively

      : Special conditions of :

                                                    See J&C for special conditions


M:\templates\Sentencing.wpt                                         Page 1 of 2                               Form Modified: 04/2013
                              CASE 0:19-cr-00104-JNE-TNL Doc. 142 Filed 11/20/19 Page 2 of 2


      : Defendant sentenced to pay:
         9 Fine in the amount of .
         9 Restitution in the amount of .
         9 Costs of prosecution in the amount of to be paid .
         : Special assessment in the amount of $100 to be paid immediately.

      9 Plea and plea agreement accepted.
      9 Court Ordered Denial of Federal Benefits.
      9 Execution of sentence of imprisonment suspended until.
      9 Defendant released pending execution of sentence of imprisonment on same terms and conditions as
      previously released.
      9 Execution of sentence of fine suspended.
      : On Motion of the Gov't., the indictment in Count 3 is dismissed as to this defendant only.
      9 Motion for departure is 9 granted     9 denied.
      : Defendant remanded to the custody of the U.S. Marshal.
      : Defendant advised of right to appeal.

      : Docket no.: 138 shall be unsealed at the time the judgment is filed.
      9 Docket no.: shall remain sealed until.
      9 Docket no.: shall be sealed indefinitely.


                                                                                                        s/DCW
                                                                                                        Law Clerk




M:\templates\Sentencing.wpt                               Page 2 of 2                            Form Modified: 04/2013
